Appellate
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                23-1135
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                                          35 Date Filed:
                                                   Date 08/28/2023
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                                           UNITED STATES COURT OF APPEALS
                                                FOR THE TENTH CIRCUIT

        ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                             PARTIES

     Darlene Griffith
     Plaintiff-Appellant

      v.                                                                                 Case No. 23-1135
     El Paso County, Colorado, et al.
     Defendant-Appellee

                               ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:
 United States of America
 ______________________________________________________________________________
                                 [Party or Parties] 1

 ______________________________________________________________________________

 Amicus Curiae
 ____________________________________________________, in the above-captioned case(s).
        [Appellant/Petitioner or Appellee/Respondent]


 Jonathan L. Backer                                                             Tovah R. Calderon
 ______________________________________                                        ______________________________________
 Name of Counsel                                                               Name of Counsel
 s/ Jonathan L. Backer
 ______________________________________                                        s/ Tovah R. Calderon
                                                                               ______________________________________
 Signature of Counsel                                                           Signature of Counsel
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 Ben Franklin Station, P.O. Box 14403, Washington, D.C. 20044 (202) 532-3528   Ben Franklin Station, P.O. Box 14403, Washington, D.C. 20044 (202) 514-4142
 ______________________________________                                        ______________________________________
 Mailing Address and Telephone Number                                          Mailing Address and Telephone Number
 Jonathan.Backer@usdoj.gov
 ______________________________________                                        Tovah.R.Calderon@usdoj.gov
                                                                               _____________________________________
 E-Mail Address                                                                 E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
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       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

     The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




 ✔ There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.


 08/28/2023
 _________________________
 Date
 s/ Jonathan L. Backer
 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
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      Appellate
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

         ✔
                All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

              On ____________________________
                     08/28/2023               I sent a copy of this Entry of Appearance
                              [date]
 Form to:
 ______________________________________________________________________________


 at____________________________________________________________________________,


 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 08/28/2023
 _________________________
 Date

 s/ Jonathan L. Backer
 _______________________________________
 Signature




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